Case 1:22-cv-00080-SOM-KJM Document 1 Filed 02/28/22 Page 1 of 13   PageID #: 1




 STARN ● O’TOOLE ● MARCUS & FISHER
 A Law Corporation
 DOUGLAS S. CHIN                 6465-0
 JOHN W. KELLY                   9907-0
 Pacific Guardian Center, Makai Tower
 733 Bishop Street, Suite 1900
 Honolulu, Hawai‘i 96813
 Telephone: (808) 537-6100
 E-mail: dchin@starnlaw.com
          jkelly@starnlaw.com

 OFFIT | KURMAN, Attorneys at Law
 TONY PEZZANO (pro hac vice pending)
 MATTHEW ASBELL (pro hac vice pending)
 CHINTAN DESAI (pro hac vice pending)
 590 Madison Avenue, 6th Floor
 New York, New York 10022
 Telephone: (929) 476-0045
 E-mail: tony.pezzano@offitkurman.com
         matthew.asbell@offitkurman.com
         chintan.desai@offitkurman.com

 Attorneys for Plaintiff
 HAWAII LIFE REAL ESTATE SERVICES, LLC

                  IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF HAWAII

 HAWAII LIFE REAL ESTATE                             1:22-cv-00080
                                          CIVIL NO. ___________________
 SERVICES, LLC, a Hawaii limited
 liability company,                       COMPLAINT FOR
                                          DECLARATORY JUDGMENT;
                   Plaintiff,             DEMAND FOR JURY TRIAL;
                                          EXHIBITS 1 – 4
             v.

 LOCKET IP LLC,

                   Defendant.

 2579811.1
Case 1:22-cv-00080-SOM-KJM Document 1 Filed 02/28/22 Page 2 of 13              PageID #: 2




              COMPLAINT FOR DECLARATORY JUDGMENT

       Plaintiff Hawaii Life Real Estate Services, LLC (“Plaintiff” or “Hawaii

 Life”), through its undersigned counsel, hereby submits this Complaint for

 Declaratory Judgment against Defendant Locket IP LLC (“Defendant” or “Locket

 IP”), as follows:

                           NATURE OF THE ACTION

       1.     This is an action for a declaratory judgment arising under the patent

 laws of the United States, Title 35 of the United States Code. Hawaii Life seeks

 declaratory judgment that it does not infringe U.S. Patent No. 10,514,832 (“’832

 Patent”), literally or under the doctrine of equivalents, and that the ’832 Patent is

 invalid. This action arises from a real and immediate controversy between Hawaii

 Life and Locket IP regarding whether Hawaii Life infringes any claims of the ’832

 Patent.

                                      PARTIES

       2.     Plaintiff Hawaii Life Real Estate Services, LLC, is a Hawaii limited

 liability company organized and existing under the laws of the State of Hawaii, with

 its principal place of business located in Hanalei, Hawaii. Hawaii Life is, and at all

 relevant times was, authorized to transact business in the State of Hawaii.




                                           2
Case 1:22-cv-00080-SOM-KJM Document 1 Filed 02/28/22 Page 3 of 13              PageID #: 3




       3.       Upon information and belief, Defendant Locket IP LLC is a corporation

 organized and existing under the laws of the State of Texas, with a principal place

 of business located in Frisco, Texas.

       4.       Upon information and belief, Locket IP is the owner by assignment of

 all rights, title and interest in and under the ’832 Patent, entitled “Method for

 Locating Regions of Interest in a User Interface,” which is attached as Exhibit 1.

                            JURISDICTION AND VENUE

       5.       This action arises under the Federal Declaratory Judgment Act, 28

 U.S.C. § 2201 et seq., and under the patent laws of the United States, Title 35 of the

 United States Code.

       6.       This Court has subject matter jurisdiction over the claims alleged in this

 action pursuant to 28 U.S.C. §§ 1331, 1338(a), and 2201 because this action involves

 claims arising under the patent laws of the United States, 35 U.S.C. § 1, et seq., and

 under the Federal Declaratory Judgment Act, 28 U.S.C. §§ 2201 and 2202.

 Jurisdiction is also proper because Locket IP is a citizen of a different state than

 Hawaii Life.

       7.       Locket IP is subject to personal jurisdiction in this Court at least

 because Locket IP engaged in actions in this District that form the basis of Hawaii

 Life’s claims against Locket IP and that have created a real, live, immediate and

 justiciable case or controversy between Locket IP and Hawaii Life.


                                             3
Case 1:22-cv-00080-SOM-KJM Document 1 Filed 02/28/22 Page 4 of 13               PageID #: 4




       8.     Venue is proper in this district pursuant to 28 U.S.C. § 1391 because

 this is the judicial district in which a substantial part of the events giving rise to the

 claim alleged in this Complaint occurred.

       9.     For these reasons and the reasons set forth below, a justiciable

 controversy exists between the parties which is of sufficient immediacy and reality

 to warrant declaratory relief.

                             FACTUAL ALLEGATIONS

       10.    Hawaii Life is a leading real estate brokerage that connects buyers,

 sellers and developers throughout the State of Hawaii. Hawaii Life also provides

 short-term and long-term rental experiences to homeowners and tenants statewide.

 As a result of its continued success, Hawaii Life is the leader in residential listings

 by both volume and units in the State of Hawaii.

       11.    On September 27, 2021, Locket IP, through its counsel IP Edge LLC

 (“IP Edge”), sent a letter and attached claim chart to Hawaii Life addressed to Matt

 Beall, Chief Executive Officer of Hawaii Life (collectively the “Notice Letter”). A

 true and accurate copy of the Notice Letter is attached hereto as Exhibit 2, and is

 incorporated herein in its entirety by reference.

       12.    In the Notice Letter, Locket IP asserts it is the purported owner of the

 ’832 Patent. However, there is no indication of Locket IP’s relation to the ’832




                                             4
Case 1:22-cv-00080-SOM-KJM Document 1 Filed 02/28/22 Page 5 of 13            PageID #: 5




 Patent. On its face, the ’832 Patent owner is identified as “Thomson Licensing” of

 France.

       13.    In the Notice Letter, Locket IP (1) accuses Hawaii Life of infringement

 of the ’832 Patent; (2) identifies Hawaii Life’s website (“hawaiilife.com”) as an

 accused instrumentality; (3) outlines alleged conduct attributable to Hawaii Life and

 alleges that conduct to be infringing; (4) provides a claim chart asserting Locket IP’s

 theory of Hawaii Life’s infringement of the ’832 Patent; and (5) requests a response

 within two weeks of the aforementioned date of the letter.

       14.    The Notice Letter and claim chart accuse Hawaii Life of activities

 which Locket IP alleges infringe the ’832 Patent, including “making, using, selling

 and/or offering for sale, as well as instructing Hawaii Life customers to use,

 [hawaiilife.com].”

       15.    In the claim chart attached to the Notice Letter, Locket IP specifically

 identifies hawaiilife.com (“Hawaii Life Product”) as an accused instrumentality and

 accuses it of infringing only Claim 1 of the ’832 Patent.

       16.    Hawaii Life became aware of at least one additional patent, U.S. Patent

 No. 9,836,190 (“’190 Patent”), that was enclosed with IP Edge’s Notice Letter of

 September 27, 2021, but was not asserted in the Notice Letter or attached claim chart.




                                           5
Case 1:22-cv-00080-SOM-KJM Document 1 Filed 02/28/22 Page 6 of 13              PageID #: 6




       17.    The Notice Letter sent by Locket IP is signed by its counsel, Mr.

 Gautham Bodepudi of IP Edge. In the Notice Letter, Locket IP identifies IP Edge

 as its “licensing advisor.”

       18.    IP Edge through its counsel Rowie Divicay has consistently sent email

 reminders on October 15, 26, November 16, 17, December 7, 8, 2021 and January

 12, 14, 25, 27, February 14, 2022 to counsel for Hawaii Life requesting a response

 to the Notice Letter.

       19.    Upon information and belief, Mr. Bodepudi and IP Edge are linked with

 several non-practicing entities (“NPE”), e.g., patent trolls, that have acquired large

 numbers of patent properties from companies with the intention of launching patent

 infringement suits against companies. Upon information and belief, these patent

 trolls seek quick settlements by creating risk and exploiting the exorbitant costs of

 litigation. As a result, they are able to often extract, in aggregate, significant sums.

       20.    Upon information and belief, Mr. Bodepudi and IP Edge are linked with

 several entities including, but not limited to, Magnolia Licensing LLC, Sunflower

 Licensing LLC, Bataan Licensing LLC, Diatek Licensing LLC, Freetek Holdings

 LLC, Triumph IP LLC, Array IP LLC, Hermes Licensing LLC, Kittleg Holdings

 LLC, Longbeam Technologies LLC, Spiral IP LLC and Wiesblatt Licensing LLC.

 A true and accurate copy of an August 10, 2021 RPX article discussing IP Edge and




                                            6
Case 1:22-cv-00080-SOM-KJM Document 1 Filed 02/28/22 Page 7 of 13            PageID #: 7




 its several entities is attached hereto as Exhibit 3, and is incorporated herein in its

 entirety by reference.

       21.    Several patents, including the ’832 Patent, were originally acquired by

 Magnolia Licensing LLC from Thomson Licensing and subsequently transferred to

 Locket IP. A true and accurate copy of the assignment history for the ’832 Patent as

 retrieved from the Assignment Branch of the United States Patent and Trademark

 Office is attached hereto as Exhibit 4, and is incorporated herein in its entirety by

 reference.

       22.    Upon information and belief, IP Edge and its associated entities,

 including Locket IP, filed about 550 complaints in 2020 alone against 500 different

 defendants. Upon information and belief, several of the patents that were acquired

 along with the ’832 Patent are the subject of numerous pending litigations in various

 jurisdictions throughout the United States.

       23.    Upon information and belief, IP Edge and Locket IP’s purpose of

 obtaining the ’832 Patent along with the other patents was to assert the patents

 against companies such as Hawaii Life to impair their ability to do business unless

 they hand over significant licensing sums in response to Locket IP’s predatory and

 baseless practices.

       24.    Upon information and belief, IP Edge provides substantive

 enforcement counsel to its various associated entities including Locket IP.


                                           7
Case 1:22-cv-00080-SOM-KJM Document 1 Filed 02/28/22 Page 8 of 13              PageID #: 8




       25.      Upon information and belief, Locket IP offers no products or services

 aside from its licensing of the ’832 Patent, and it exists solely for that purpose.

       26.      Hawaii Life and Locket IP have a clear conflict of asserted rights

 against one another, and an actual controversy exists between Hawaii Life and

 Locket IP with respect to the ’832 Patent.

       27.      As a result of Locket IP’s actions, Hawaii Life has a reasonable

 apprehension of enforcement of the ’832 Patent against it. Therefore, Hawaii Life

 files this action in order to resolve an actual and justiciable controversy between

 itself and Locket IP hereto.

                   The Subject Matter Claimed in the ’832 Patent

       28.      The ’832 Patent is directed to the abstract idea of accessing and

 searching a database of known television program display cards.

       29.      The purported invention, which is directed toward “a user interface that

 displays a number of cards or windows” and allows a user to “implement a command

 where the user interface will automatically change the position of the displayed cards

 to show regions of interest” is nothing more than a routine business method of using

 a television guide to filter and sort out programming based on user preferences.

       30.      Upon information and belief, the ’832 Patent is directed to a known

 method of organizing and displaying television programming data based on user

 preferences.


                                            8
Case 1:22-cv-00080-SOM-KJM Document 1 Filed 02/28/22 Page 9 of 13                PageID #: 9




                                    COUNT I
             Request for Declaratory Judgment of Non-Infringement of
                            U.S. Patent No. 10,514,832

       31.     Hawaii Life incorporates and realleges each allegation contained in

 prior paragraphs of this Complaint, as though fully set forth herein.

       32.     There is an actual and justiciable controversy between Hawaii Life and

 Locket IP concerning infringement of the ’832 Patent.

       33.     Hawaii Life has not infringed and does not infringe either literally or

 under the doctrine of equivalents any claim of the ’832 Patent, including Claim 1

 asserted by Locket IP, directly, contributorily, or by inducement.

       34.     The Hawaii Life Product does not infringe asserted Claim 1 of the ’832

 Patent either literally or under the doctrine of equivalents because it does not include

 at least the following claim limitations of Claim 1, literally or under the doctrine of

 equivalents: “determining, in response to a user command, regions of interest within

 each of a plurality of cards by searching information indicating previous user

 preferences”, “updating for display the plurality of cards to visibly show in a display

 area of a display device the at least one region of interest of multiple cards included

 in a first group of the plurality of cards” and “to visibly display the at least one region

 of interest within all of the multiple cards included in the first group within the

 display area of the display device.”




                                             9
Case 1:22-cv-00080-SOM-KJM Document 1 Filed 02/28/22 Page 10 of 13             PageID #: 10




        35.    Hawaii Life does not directly infringe asserted Claim 1 of the ’832

  Patent because it does not perform each and every element of asserted Claim 1, for

  at least the reasons set forth above with respect to no underlying direct infringement

  of Claim 1 of the ’832 Patent.

        36.    Hawaii Life does not actively induce its customers to infringe asserted

  Claim 1 of the ’832 Patent for at least the reasons stated above with respect to no

  underlying direct infringement of Claim 1 of the ’832 Patent.

        37.    Hawaii Life does not actively contribute to its customers’ infringement

  of Claim 1 of the ’832 Patent for at least the reasons stated above with respect to no

  underlying infringement of Claim 1 of the ’832 Patent.

        38.    Hawaii Life does not indirectly infringe asserted Claim 1 of the ’832

  Patent because it has a good faith belief that Claim 1 is invalid and not infringed.

        39.    Hawaii Life is entitled to a declaratory judgment that it does not directly

  or indirectly infringe any claims of the ’832 Patent, including asserted Claim 1, either

  literally or under the doctrine of equivalents.

                                 COUNT II
   Request for Declaratory Judgment of Invalidity of U.S. Patent No. 10,514,832

        40.    Hawaii Life incorporates and realleges each allegation contained in

  prior paragraphs of this Complaint, as though fully set forth herein.

        41.    There is an actual and justiciable controversy between Hawaii Life and

  Locket IP concerning validity of the ’832 Patent.
                                            10
Case 1:22-cv-00080-SOM-KJM Document 1 Filed 02/28/22 Page 11 of 13                PageID #: 11




        42.    The claims of the ’832 Patent are invalid for failure to comply with one

  or more of the conditions of patentability under Title 35 of the United States Code

  and related judicial doctrines, including but not limited to 35 U.S.C. §§ 101, 102,

  103, and/or 112.

        43.    The claims of the ’832 Patent are invalid as anticipated under 35 U.S.C.

  § 102 and/or obvious under 35 U.S.C. § 103 in light of the relevant prior art that

  disclose each claim element of the ’832 Patent prior to the effective filing date of the

  ’832 Patent. For example, asserted Claim 1 of the ’832 Patent is anticipated by U.S.

  Patent Publication No. 2012/0054794 A1 (“Kim”), U.S. Patent Publication No.

  2012/0147055 A1 (“Pallakoff”), U.S. Patent Publication No. 2009/0259958 A1

  (“Ban”), U.S. Patent Publication No. 2008/0122796 A1 (“Jobs”), and International

  Publication No. WO 2011/011120 A2 (“Shiplacoff”), each of which discloses each

  and every element of asserted Claim 1. To the extent asserted Claim 1 is not

  anticipated by any one of the references, Claim 1 would have been obvious over Kim

  to a person of ordinary skill in the art, or in the alternative, over any one of Pallakoff,

  Ban, Jobs or Shiplacoff in view of Kim. Hawaii Life is not aware of any secondary

  considerations that could rebut this prima facie case of obviousness.

        44.    As yet another example, the claims of the ’832 Patent are invalid for

  failing to comply with the requirements of 35 U.S.C. § 112(a) and (b). For example,

  asserted Claim 1 of the ’832 Patent is indefinite under Section 112(a) and fails to


                                              11
Case 1:22-cv-00080-SOM-KJM Document 1 Filed 02/28/22 Page 12 of 13             PageID #: 12




  meet the written description requirement under Section 112(b) because the limitation

  “the at least one region of interest of multiple cards” has no antecedent basis and is

  vague and ambiguous.

         45.   The claims of the ’832 Patent are also invalid under 35 U.S.C. § 101.

  For example, the claims of the ’832 Patent (including asserted Claim 1) are directed

  to the abstract idea of selecting, sorting, and displaying television program

  information by user interest or subject matter.

         46.   Hawaii Life is entitled to a declaratory judgment that the claims of the

  ’832 Patent, including asserted Claim 1, are invalid under 35 U.S.C. §§ 101, 102,

  103 and/or 112(a) and (b).

                               PRAYER FOR RELIEF

         WHEREFORE, Plaintiff respectfully requests that this Court enter a final

  judgment in its favor and against Defendant as follows:

         1.    A declaratory judgment that Hawaii Life has not infringed and does not

  infringe any of the claims of the ’832 Patent, including asserted Claim 1;

         2.    A declaratory judgment that the claims of the ’832 Patent, including

  asserted Claim 1, are invalid under 35 U.S.C. §§ 101, 102, 103 and/or 112(a) and

  (b);

         3.    Find this to be an exceptional case under 35 U.S.C. § 285, and award

  Hawaii Life its reasonable attorneys’ fees;


                                           12
Case 1:22-cv-00080-SOM-KJM Document 1 Filed 02/28/22 Page 13 of 13      PageID #: 13




        4.    Award Hawaii Life its costs and attorneys’ fees; and

        5.    Award Hawaii Life such other relief as the Court may deem proper.

        DATED: Honolulu, Hawaii, February 28, 2022.


                                 /s/   John W. Kelly
                                 DOUGLAS S. CHIN
                                 JOHN W. KELLY
                                 TONY PEZZANO (pro hac vice pending)
                                 MATTHEW ASBELL (pro hac vice pending)
                                 CHINTAN DESAI (pro hac vice pending)
                                 Attorneys for Plaintiff
                                 HAWAII LIFE REAL ESTATE SERVICES, LLC




                                         13
